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                    Exhibit 4
                                                                                17CV314037
                                           Case 2:18-cv-00556-TSZ Document
                                                                    Santa Clara15-6
                                                                                – Civil Filed 11/21/18 Page 2 of 12

                                                                                                                                     E. Fang


                                                                                                        Electronically Filed
                                       1   SANDY M. KAPLAN (SBN: 095065)
                                           MATTHEW T. HAWK (SBN: 227225)                                by Superior Court of CA,
                                       2   AMY K. ALEXANDER (SBN: 236728)                               County of Santa Clara,
                                           GORDON REES SCULLY MANSUKHANI LLP                            on 5/17/2018 12:50 PM
                                       3   275 BATTERY STREET, SUITE 2000                               Reviewed By: E. Fang
                                           SAN FRANCISCO, CA 94111                                      Case #17CV314037
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                                       7   Attorneys for Defendants and Cross-Complainants
                                           ALMADEN TOWER VENTURE, LLC and WEBCOR CONSTRUCTION LP, dba
                                       8   WEBCOR BUILDERS, survivor to a merger with WEBCOR CONSTRUCTION, INC.

                                       9                               SUPERIOR COURT OF CALIFORNIA
                                      10                         IN AND FOR THE COUNTY OF SANTA CLARA
                                      11   AXIS HOMEOWNERS ASSOCIATION, a                      )   CASE NO. 17CV314037
Gordon & Rees Scully Mansukhani LLP




                                           California non-profit mutual benefit corporation,   )
    275 Battery Street, Suite 2000




                                      12                                                       )
      San Francisco, CA 94111




                                                                         Plaintiff,            )   ALMADEN TOWER VENTURE,
                                      13                                                       )   LLC and WEBCOR
                                                  v.                                           )   CONSTRUCTION LP, dba WEBCOR
                                      14                                                       )   BUILDERS, survivor to a merger with
                                           ALMADEN TOWER VENTURE, LLC. a                       )   WEBCOR CONSTRUCTION, INC.’S
                                      15   California limited liability company; WEBCOR        )   CROSS-COMPLAINT FOR:
                                           CONSTRUCTION LP, DBA WEBCOR                         )
                                      16   BUILDERS, a California corporation and DOES         )   1.   EXPRESS INDEMNITY;
                                           1-400 inclusive,                                    )   2.   EQUITABLE INDEMNITY &
                                      17                                                       )        CONTRIBUTION
                                                                         Defendants.           )   3.   DECLARATORY RELIEF
                                      18                                                       )
                                           ALMADEN TOWER VENTURE, LLC;                         )
                                      19   WEBCOR CONSTRUCTION LP, dba                         )
                                           WEBCOR BUILDERS, survivor to a merger               )
                                      20   with WEBCOR CONSTRUCTION, INC.                      )
                                                                                               )
                                      21                           Cross-Complainants,         )
                                                                                               )
                                      22          v.                                           )
                                                                                               )
                                      23   ACCO ENGINEERED SYSTEMS; CENTRAL                    )
                                           CONCRETE SUPPLY CO., INC., a Texas                  )
                                      24   corporation; GLACIER NORTHWEST, INC., a             )
                                           Washington corporation; BRASS-CRAFT OF              )
                                      25   CALIFORNIA; BRASS-CRAFT PACIFIC,                    )
                                           INC; BRASS-CRAFT WESTERN COMPANY;                   )
                                      26   BRASSCRAFT MANUFACTURING                            )
                                           COMPANY; EZ-FLO INTERNATIONAL,                      )
                                      27   INC.; and ROES 1 through 100,                       )
                                                                                               )
                                      28                                 Cross-Defendants.     )


                                                                                      CROSS-COMPLAINT
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                                       1          Defendants and Cross-Complainants ALMADEN TOWER VENTURE, LLC and

                                       2   WEBCOR CONSTRUCTION LP, dba WEBCOR BUILDERS, survivor to a merger with

                                       3   WEBCOR CONSTRUCTION, INC. (hereinafter collectively “Defendants” or “Cross-

                                       4   complainants”) alleges:

                                       5                                     GENERAL ALLEGATIONS
                                       6          1.      ALMADEN TOWER VENTURE, LLC. was, and at all times relevant hereto is, a

                                       7   limited liability corporation organized and existing under the laws of the State of California and

                                       8   at all relevant time was doing business in the State of California.

                                       9          2.      WEBCOR CONSTRUCTION LP, dba WEBCOR BUILDERS, survivor to a
                                      10   merger with WEBCOR CONSTRUCTION, INC. was, and at all times relevant hereto is, a

                                      11   limited partnership organized and existing under the laws of the State of Delaware. and at all
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                                      12   relevant time was doing business in the State of California.
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                                      13          3.      ALMADEN TOWER VENTURE, LLC. and WEBCOR CONSTRUCTION LP,

                                      14   dba WEBCOR BUILDERS, survivor to a merger with WEBCOR CONSTRUCTION, INC. will

                                      15   collectively be referred to as “Cross Complainants.”

                                      16          4.      Cross-complainants served as the developer and general contractor of real

                                      17   property located at 38 N. Almaden Blvd. in San Jose, California consisting of a 22-floor tower, a

                                      18   subterranean garage, and 329 residential units. (“PROJECT”)

                                      19                                          CROSS-DEFENDANTS
                                      20          5.      Cross-complainants allege upon information and belief that CENTRAL

                                      21   CONCRETE SUPPLY CO., INC. is a Texas corporation and at all relevant times was doing

                                      22   business in the State of California.

                                      23          6.      Cross-complainants allege upon information and belief that GLACIER

                                      24   NORTHWEST, INC. is a Washington corporation and at all relevant times was doing business in

                                      25   the State of California.

                                      26          7.      Cross-complainants allege upon information and belief that ACCO
                                      27   ENGINEERED SYSTEMS, INC. is a California corporation and at all relevant times was doing
                                      28   business in the State of California.

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                                       1          8.      Cross-complainants allege upon information and belief that BRASS-CRAFT OF

                                       2   CALIFORNIA was at all times authorized and was doing business in the State of California.

                                       3          9.      Cross-complainants allege upon information and belief that BRASS-CRAFT

                                       4   PACIFIC, INC. was at all times authorized and was doing business in the State of California.

                                       5          10.     Cross-complainants allege upon information and belief that BRASS-CRAFT

                                       6   WESTERN COMPANY was at all times authorized and was doing business in the State of

                                       7   California.

                                       8          11.     Cross-complainants allege upon information and belief that BRASSCRAFT

                                       9   MANUFACTURING COMPANY was at all times authorized and was doing business in the
                                      10   State of California.

                                      11          12.     Cross-complainants allege upon information and belief that EZ-FLO
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                                      12   INTERNATIONAL, INC. is a California corporation and at all relevant times was doing
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                                      13   business in the State of California.

                                      14          13.     Cross-complainants allege that the true names and/or capacities, whether

                                      15   individual, corporate, associate or otherwise, of the Cross-defendants and ROES 1 through 100,

                                      16   inclusive, are unknown to Cross-complainants, who, therefore, sue said Cross-defendants by

                                      17   such fictitious names. Cross-complainants are informed and believe and thereon allege that

                                      18   Cross-defendant ROES 1 through 100, inclusive, are subcontractors, their agents, employees,

                                      19   material men, suppliers, and/or manufacturers.
                                      20          14.     Cross-complainants are informed and believe and thereon allege that at all times

                                      21   herein mentioned Cross-defendants, and each of them, were the agents, servants, partners and

                                      22   employees of other Co-defendants, and each was acting within the scope of its authority as agent,

                                      23   servant, partner and employee and with the permission and consent of each of the other Cross-

                                      24   defendants.

                                      25          15.     Each and all Cross-defendants were engaged in the investigation, manufacture,

                                      26   assembly, design, production, maintenance, supervision, repair, construction and/or the provision
                                      27   of labor, design, supplies, hardware, materials, and appliances for the real property known as the
                                      28   PROJECT. The true names and capacities, whether individual, corporate, associate, or

                                                                                         -2-
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                                       1   otherwise, of Cross-defendants named herein as ROES 1 through 100, inclusive, are unknown to

                                       2   cross-complainant, who therefore, sues said Cross-defendants by such fictitious names. Cross-

                                       3   complainant is informed and believes, and thereupon alleges, that each of these Cross-defendants

                                       4   designated as a fictitiously named Cross-defendant is, and in some manner, was responsible for

                                       5   the events and happenings herein referred to in the cross-complaint herein alleged. Cross-

                                       6   complainants will amend this cross-complaint to allege their true names and capacity when the

                                       7   same have been determined.

                                       8          16.      On April 4, 2018, Plaintiff filed its Second Amended Complaint for damages in

                                       9   Santa Clara County Superior Court, Action No. 17CV314037, seeking damages for Breach of
                                      10   Express Warranties, Breach of Implied Warranties, Violation of Statute (Civ. Code § 896 et

                                      11   seq.), and Breach of Declaration of Covenants Conditions and Restrictions against Cross-
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                                           complainants and DOES 1 through 400, inclusive (hereinafter “Complaint”).
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                                      13          17.      The actual construction and design defects alleged by Plaintiff in the Complaint

                                      14   regarding the PROJECT include the allegations that Cross-complainants failed to provide

                                      15   adequate construction services, materials, equipment and/or supplies; and that Cross-

                                      16   complainants negligently planned, designed, improved, constructed, inspected, installed or

                                      17   repaired and placed PROJECT elements. Plaintiff’s Complaint alleges numerous defects and

                                      18   physical damage to the PROJECT.

                                      19          18.      Plaintiff’s Complaint is incorporated herein by reference, as if set forth in full for
                                      20   the purpose of illustrating the allegations contained therein, not for the truth of said allegations.

                                      21   Cross-complainants filed an answer to Plaintiff’s Complaint which denies the material

                                      22   allegations of the Complaint and further denies that Cross-complainants are in any way

                                      23   responsible or liable in any manner whatsoever for any damages alleged in the Complaint to

                                      24   have been suffered by Plaintiff. Cross-complainants further contend that the alleged damages to

                                      25   Plaintiff, if any, were caused solely by the failure of the Cross-defendants named herein, and

                                      26   ROES 1-100, to exercise due care in connection with the performance of their various duties at
                                      27   PROJECT, or to otherwise adequately discharge their contractual obligations to Cross-
                                      28   complainants.

                                                                                           -3-
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                                       1                                 FIRST CAUSE OF ACTION
                                                    (Breach of Express Indemnity against ACCO ENGINEERED SYSTEMS,
                                       2        CENTRAL CONCRETE SUPPLY CO., INC. and ROES 1 through 50, inclusive)
                                       3          19.     Cross-complainants incorporate by reference Paragraphs 1 through 18 of this

                                       4   cross-complaint as though fully set forth herein.

                                       5          20.     Cross-complainants are informed and believe and thereon allege that Cross-

                                       6   Defendants, and each of them as designated above, entered into written contracts with Cross-

                                       7   complainants which stated, among other things, that Cross-Defendants would indemnify and

                                       8   hold Cross-complainants free and harmless from any and all claims, losses, damages, injuries

                                       9   and/or liabilities caused by Cross-Defendants, their agents or employees, and each of them.
                                      10          21.     Cross-complainants are informed and believe and thereon allege that the defects

                                      11   and damages claimed by Plaintiff were caused by Cross-Defendants, and each of them, arising
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                                      12   out of and connected with the performance of Cross-Defendants' obligations pursuant to the
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                                      13   written agreement(s) entered into by each of them with Cross-complainants herein.

                                      14          22.     Cross-complainants are informed and believe and thereon allege that Cross-

                                      15   Defendants, and each of them, entered into contracts with others in the performance of services

                                      16   provided in the construction of the Project and are responsible for all acts and omissions of its

                                      17   subcontractors, agents and employees.

                                      18          23.     Cross-complainants are informed and believe and thereon allege that Cross-

                                      19   Defendants, and each of them as designated above, entered into written agreements with Cross-
                                      20   complainants which stated, among other things that Cross-Defendants would be liable for all

                                      21   attorneys’ fees and costs incurred by Cross-complainants in the event of a dispute regarding

                                      22   work performed by Cross-Defendants.

                                      23          24.     Cross-complainants have retained the services of GORDON REES SCULLY

                                      24   MANSUKHANI LLP to defend the action herein, thereby incurring costs, consultants' fees,

                                      25   attorneys' fees and other litigation fees in the defense of this action and prosecution of this Cross-

                                      26   complaint. Cross-complainants will amend this Cross-complaint to show the amount of said
                                      27   costs and attorneys' fees when the same become known to Cross-complainant.
                                      28          WHEREFORE, Cross-complainants pray for judgment as hereinafter set forth.

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                                       1                                     SECOND CAUSE OF ACTION
                                                           (Equitable Indemnity and Contribution Against All Cross-Defendants)
                                       2

                                       3           25.     Cross-complainants incorporate by reference Paragraphs 1 through 24 of this

                                       4   cross-complaint as though fully set forth herein.

                                       5           26.     As previously alleged herein, Plaintiff has alleged negligent and/or improper

                                       6   design and/or construction of the PROJECT, the true extent of which is unknown, and which

                                       7   allegedly has resulted in distress, or injury.

                                       8           27.     Cross-complainants are without active fault, culpability or negligence in the

                                       9   above-referenced claim for damages, but is being required to defend itself in an action solely as a
                                      10   result of Cross-defendants' tortious conduct. Cross-defendants, and each of them, therefore have

                                      11   an equitable obligation to indemnify and hold Cross-complainants harmless from and against any
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                                      12   and all claims, losses, damages, attorneys' fees, costs, judgments and settlement expenses
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                                      13   incurred in mitigation and defense against any action or claim asserted against Cross-

                                      14   complainants.

                                      15           28.     Cross-complainants contend that, pursuant to the California Supreme Court's

                                      16   decision in American Motorcycle Assn. v. Superior Court (1978) 20 Cal.3d 578, Cross-

                                      17   complainants are entitled to proceed against Cross-defendants, and each of them, for a

                                      18   determination of the extent to which Cross-defendants should indemnify Cross-complainants for

                                      19   any judgment made or entered against Cross-complainants arising from any assertions of design-
                                      20   defects, construction defects and/or damages in this action.

                                      21           29.     Cross-complainants further contend that if they are found liable to Plaintiff or

                                      22   others, Cross-complainants should be indemnified by Cross-defendants, and each of them, on the

                                      23   basis of a comparison of Cross-complainants’ comparative fault (if any) with that of Cross-

                                      24   defendants, and each of them, under the principles of partial and comparative indemnity set forth

                                      25   in American Motorcycle.

                                      26           30.     By reason thereof, Cross-complainants contend that if they are held liable to
                                      27   Plaintiff upon their Complaint, then Cross-complainants are entitled to be indemnified by all
                                      28   Cross-defendants, and each of them, in whatever amounts may be adjudged, and for its costs and

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                                       1   expenses incurred in the defense of this action, including reasonable attorneys' fees. Cross-

                                       2   complainants further contend that they are entitled to be indemnified for expenditures heretofore

                                       3   and hereafter made in connection with the repairs of the PROJECT. The total amount of Cross-

                                       4   complainants’ costs and attorneys' fees is not yet known, and Cross-complainants will ask leave

                                       5   of this Court to insert such amounts at the time of trial.

                                       6          WHEREFORE, Cross-complainants pray for judgment as hereinafter set forth.

                                       7                                         THIRD CAUSE OF ACTION

                                       8                       (For Declaratory Relief Against All Cross-Defendants)

                                       9          31.      Cross-complainants incorporate by reference Paragraphs l through 30 of this
                                      10   Cross-Complaint as though if fully set forth herein.

                                      11          32.      An actual controversy has arisen and now exists among Cross-complainants and
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                                      12   Cross-defendants, and each of them, in that Cross-complainants contend that:
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                                      13          33.      As between Cross-complainants and the Cross-defendants, liability and

                                      14   responsibility, if any, for damages claimed in connection with the Complaint by Plaintiff herein

                                      15   rests entirely or partially with Cross-defendants, and each of them;

                                      16          34.      As a result, Cross-defendants, and each of them, are obligated to indemnify

                                      17   Cross-complainants for the sums which Cross-complainants may be compelled to pay as a result

                                      18   of damages, judgment or other award recovered by the Plaintiffs, or any of them, against Cross-

                                      19   complainants;
                                      20          35.      As a further result, Cross-complainants are entitled to reimbursement of all sums

                                      21   which it has paid or will pay in connection with Plaintiffs’ claims; and Cross-complainants are

                                      22   entitled to be indemnified and held harmless by Cross-defendants and be reimbursed for their

                                      23   attorneys’ fees and costs.

                                      24          36.      Cross-complainants are informed and believe, and thereon allege, that the Cross-

                                      25   defendants, and each of them, deny such liability, responsibility, obligations and duties.

                                      26          37.      Cross-complainants desire a judicial determination of the respective rights and
                                      27   duties of Cross-complainants and the Cross-defendants, and each of them, with respect to
                                      28   damages claimed in the complaint filed by Plaintiffs herein. In particular, Cross-complainants

                                                                                           -6-
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                                       1   desire a declaration of the respective liabilities of Cross-complainants and Cross-defendants for

                                       2   such damages which Cross-complainants may be compelled to pay, whether by settlement

                                       3   entered into by Cross-complainants or by judgment which may be rendered against Cross-

                                       4   complainants. Cross-complainants further desire a judicial determination that it is entitled to

                                       5   reimbursement for all expenses incurred and to be incurred by it in repairing the subject property,

                                       6   and that Cross-complainants are entitled to reimbursement for all costs and expenses incurred

                                       7   and to be incurred by it in defending against Plaintiff’s Complaint and in prosecuting this Cross-

                                       8   complaint, including reasonable attorneys’ fees.

                                       9          38.     If it is determined herein that Cross-complainants are liable in any way by reason
                                      10   of any facts alleged in Plaintiff’s Complaint, or otherwise, Cross-complainants are entitled to be

                                      11   indemnified in an amount proportionate to the extent Cross-defendants, and each of them, caused
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                                      12   and contributed to the damages recovered by Plaintiff, if any, in the within action.
      San Francisco, CA 94111




                                      13          39.     The judicial determination of the rights of Cross-complainants to indemnity from

                                      14   Cross-defendants, and each of them, is necessary and appropriate at this time in order that Cross-

                                      15   complainants ascertain their rights with respect to the claims of Plaintiffs herein for damages,

                                      16   and in order that Cross-complainants may avoid the multiplicity of actions which will otherwise

                                      17   result if it is required to defend against the claim of Plaintiffs in the complaint and then to bring a

                                      18   separate cause of action against Cross-defendants for indemnification.

                                      19          WHEREFORE, Cross-complainants pray for judgment as hereinafter set forth.
                                      20                                                 PRAYER

                                      21          1.      For a judgment for damages otherwise in accordance with the contentions of

                                      22   Plaintiff as alleged in this Complaint, according to proof at trial;

                                      23          2.      Compensatory damages according to proof at the time of trial;

                                      24          3.      For a judicial determination, adjudicating the obligation of Cross-defendants, and

                                      25   each of them, to defend Cross-complainants herein, to hold Cross-complainants harmless for any

                                      26   judgment or settlement herein and to reimburse Cross-complainants for all monies heretofore or
                                      27   hereafter expended to repair PROJECT and for all costs, expenses, attorneys' fees and all other
                                      28   damages incurred in defending Plaintiffs’ action and prosecuting this Cross-Complaint.

                                                                                           -7-
                                                                                    CROSS-COMPLAINT
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                                       1             4.   For an order of the Court declaring the rights of Cross-complainants to indemnity

                                       2   from Cross-defendants, and each of them, in regard to all matters alleged in the pleadings in this

                                       3   action;

                                       4             5.   For costs of suit herein incurred, including reasonable attorneys' fees;

                                       5             6.   For an amount to be determined that Cross-complainants have already expended

                                       6   for repairs and remediation of Cross-defendants' defective work;

                                       7             7.   For all monies expended or to be expended to repair, replace and remediate

                                       8   defective work of Cross-defendants; and

                                       9             8.   For such other and further relief as the Court may deem just and proper.
                                      10

                                      11
Gordon & Rees Scully Mansukhani LLP




                                           Dated: May 17, 2018                                GORDON REES SCULLY MANSUKHANI
                                                                                              LLP
    275 Battery Street, Suite 2000




                                      12
      San Francisco, CA 94111




                                      13                                                      By:
                                                                                                    SANDY M. KAPLAN
                                      14                                                            MATTHEW T. HAWK
                                                                                                    AMY K. ALEXANDER
                                      15                                                      Attorneys for Defendants and Cross-
                                                                                              Complainants
                                      16                                                      ALMADEN TOWER VENTURE, LLC and
                                                                                              WEBCOR CONSTRUCTION LP, dba
                                      17                                                      WEBCOR BUILDERS, survivor to a merger
                                                                                              with WEBCOR CONSTRUCTION, INC.
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                                                                                  CROSS-COMPLAINT
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                                                                                PROOF 0F SER VICE
                                                           Axis Homeowners Association v. Almaden Tower Ventrure, LLC
                                                             Santa Clara County Superior CouIt - Case No.2 17CV3 14037

                                                I am a resident 0f the State 0f California, over the age 0f 18 years, and not a party t0 the

                                         Within action.   Mybusiness address is: Gordon    & Rees LLP 275 Battery Street, Suite 2000, San
                                         Francisco, CA 941 1 1. On the date indicated below, I served the within documents:

                                                 SUMMONS 0N CRoss-COMPLAINT & ATTACHMENT T0 SUMMONS 0N
                                                 CRoss-COMPLAINT;
                                                 ALMADEN TOWER VENTURE, LLC and WEBCOR CONSTRUCTION LP, dba
                                                 WEBCOR BUILDERS, survivor t0 a merger with WEBCOR CONSTRUCTION,
                                                 lNC.’S   CROSS-COMPLAINT;

                                                 by   ELECTRONIC SERVICE: by
                                                 document(s)     listcd
                                                                                                               c
                                                                                      instructing Nationwide hal to c-scrvc thc
                                                                        above pursuant to thc court mandatory c-ﬁling and c-scrvicc. E-
                                    10           scrvicc in this   action was completed on all parties listed 0n thc Odyssey E-Scrvicc
                                                 List.
                                    11
LLP
                                                 by transmitting via facsimile the document(s)    listed   above   t0 the fax   number(s)   set
                                          D‘
                                                 forth below 0n this date before 5:00 pm.
             2000
                                    12
                                                 by electronically transmitting the document(s) listed above t0 the person(s) at the
Mansukhani
                       94111

                                          D‘
             Suite                  13           address(es) set forth below 0n this date before 5:00 pm.
                       CA

             Street,
                                    14           by placing the document(s)  listed above in a sealed envelope with postage thereon
Scully
                                                 fully prepaid, inUnited States mail in the State 0f California at San Francisco,
                       Francisco,


                                    15           addressed as set forth below.
Rees         Battery




                                    16           by placing a      copy thereof enclosed in a sealed envelope, at a station designated.
                                                                 true
                                          D‘
&                      San
                                                 for collection and processing of envelopes and packages for overnight delivery by
             275

                                    17           FEDERAL       EXPRESS as part of the ordinary business practices of Gordon & Rees
Gordon
                                                 LLP     described below, addressed as follows:
                                    18
                                         Roger J. Grant, Esq.
                                    19   Charles M. Litt, Esq.
                                         John C. Stander, Esq.
                                    20   FENTON GRANT MAYFIELD KANEDA           & LITT, LLP
                                         19 0
                                            1 Olympic Boulevard, Suite 250
                                    21   Walnut Creek, CA 94596
                                         Tel: (925) 357-3135
                                    22   Fax: (925) 705-4743
                                         charleslitt@fenton grant. com
                                    23   jstander@fenton grantcom
                                         Attorneys for Plaintiffois Homeowners Association
                                    24

                                    25

                                    26

                                    27

                                    28
                                             Case 2:18-cv-00556-TSZ Document 15-6 Filed 11/21/18 Page 12 of 12



                                         1            I declare under penalty of perjury under the laws of the State of California that the above
                                             is true and correct.
                                         2
                                                    Executed on May 17, 2018 at San Francisco, California.
                                         3

                                         4

                                         5                                                                         Dina Cordero
                                         6

                                         7

                                         8

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                                        10

                                        11
  Gordon & Rees Scully Mansukhani LLP
      275 Battery Street, Suite 2000




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        San Francisco, CA 94111




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